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                                         IN THE
                              UNITES STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

DANIEL HUMAN, individually and                      )
on behalf of all others similarly situated,         )
                                                    )
                       Plaintiffs.                  )
                                                    )
Vs.                                                 )        No. 4:24-cv-00570-SEP
                                                    )
International Union of Police Associations AFL CIO)
d/b/a National Police and Troopers Association; and )
John and Jane Does 1 through 4                      )
International Union of Police Associations, d/b/a   )
National Police and Troopers Association            )
                                                    )
                       Defendants.                  )

                             NOTICE OF SETTLEMENT
______________________________________________________________________________


       Comes now the Plaintiff, Daniel Human, by and through the undersigned counsel and

hereby gives notice that the parties have reached a settlement in the above cause. Plaintiff

anticipates filing a notice of dismissal with prejudice within the next fourteen (14) days, once the

terms are satisfied.

                                                             Respectfully submitted,


                                                             /s/Edwin V. Butler, Esquire
                                                             Edwin V. Butler Mo. 32489
                                                             Attorney At Law
                                                             Butler Law Group, LLC
                                                             1650 Des Peres Rd., Suite 220
                                                             St. Louis, MO 63131
                                                             edbutler@butlerlawstl.com
                                                             (314) 504-0001
                                                             Attorney for the Plaintiff



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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on July 30, 2024, a true and correct copy of the foregoing was

served on all counsel of record via CM-ECF.

                                                            /s/ Edwin Butler
                                                            Edwin Butler




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